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                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO



UNITED STATES OF AMERICA,                     )              CASE NO. 5:02cr00255-020
                                              )
       Plaintiff,                             )              JUDGE: JAMES S. GWIN
                                              )
vs.                                           )              ORDER
                                              )
JAMES GORDEN,                                 )
                                              )
       Defendant.                             )



       This matter was heard on March 3, 2011, upon the request of the United States Pretrial

and Probation Office for a finding that defendant has violated the conditions of his supervised

release. The defendant was present and represented by Jaime Serrat. This matter was earlier

referred to Magistrate Judge George J. Limbert to conduct appropriate proceedings and to issue a

Report and Recommendation. The Report and Recommendation was issued on February 17,

2011 [Doc. 1357]. The Magistrate Judge recommended, following defendant’s admission of the

violations, that this Court find that defendant had violated the conditions of supervised release.

Neither counsel for the government nor counsel for defendant filed an objection to the Report

and Recommendation.

       The Court, finding there was no objection to the Report and Recommendation, adopted

same and found that defendant had violated the conditions of his supervision as follows:

               1) new law violation of domestic violence on or about July 28, 2009;

               2) new law violation of domestic violence menacing on or about
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               January 23, 2010;

               3) failure to notify the probation office within 72 hours of being

               arrested or questioned by a law enforcement officer.

       The Court noted that the violations were a Grade C and defendant’s Criminal History

Category was a VI. The Court then considered all factors in Section 3553(a) prior to imposing

sentence within the recommended guideline range of 8 to 12 months.

       Therefore, the defendant is sentenced to the Bureau of Prisons for a period of 10 months

and is granted credit for time served in federal custody on the instant violations. Upon

defendant’s release from incarceration the period of supervised release shall terminate.

       The defendant is remanded to the custody of the U.S. Marshal, Cleveland, Ohio.

       IT IS SO ORDERED.



Dated: March 3, 2011                                 s/ James S. Gwin
                                                     JAMES S. GWIN
                                                     UNITED STATES DISTRICT JUDGE
